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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         2:09-CR-00407-KJM
12                 Plaintiff,
                                                       FINAL ORDER OF FORFEITURE
13          v.
14   MARIA DEL ROCIO ARCEO-RANGEL,
     LUIS RENEE ESTRADA CASTANON,
15         aka Jesus Estrada Pineda,
     PEDRO GUTIERREZ-VALENCIA,
16   MARTIN GARCIA-CHAVEZ,
     ISIDRO GUTIERREZ-VALENCIA, and
17   GUMERSINDO PEREZ-HERRERA, ET AL.,
18                 Defendants.
19

20          On May 19, 2011, June 2, 2014, October 14, 2015, and February 11, 2016, this Court entered

21 Preliminary Orders of Forfeiture pursuant to the provisions of 18 U.S.C. § 924(d)(1) and 28 U.S.C.

22 § 2461(c), based upon: (1) the respective plea agreements entered into between plaintiff United States

23 of America and defendants Luis Renee Estrada Castanon, aka Jesus Estrada Pineda; Maria Del Rocio

24 Arceo-Rangel; Isidro Gutierrez-Valencia; Martin Garcia-Chavez; Pedro Gutierrez-Valencia; and

25 Gumersindo Perez-Herrera; and (2) the Stipulation and Application for Preliminary Order of Forfeiture

26 and Publication Thereof entered into with defendant Maria Del Rocio Arceo-Rangel forfeiting to the

27 United States the following property:

28 /////
                                                       1
                                                                                         Final Order of Forfeiture
              Case 2:09-cr-00407-KJM Document 569 Filed 12/30/16 Page 2 of 2


                    a.      a Taurus Model PT99AF, 9 millimeter semi-automatic pistol, serial number
 1                          L23349; and
 2                  b.      a New Haven Model 250C, .22 caliber rifle, no serial number.

 3          Beginning on May 21, 2011, June 11, 2014, October 22, 2015, and March 16, 2016, for at least

 4 30 consecutive days, the United States published notice of the Court’s Orders of Forfeiture on the

 5 official internet government forfeiture site www.forfeiture.gov. Said published notice advised all third

 6 parties of their right to petition the Court within sixty (60) days from the first day of publication of the

 7 notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited property.

 8          The Court has been advised that no third party has filed a claim to the subject property, and the

 9 time for any person or entity to file a claim has expired.

10          Accordingly, it is hereby ORDERED and ADJUDGED:

11          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States all right, title,

12 and interest in the above-listed property pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c),

13 including all right, title, and interest of Luis Renee Estrada Castanon, aka Jesus Estrada Pineda; Maria

14 Del Rocio Arceo-Rangel; Isidro Gutierrez-Valencia; Martin Garcia-Chavez; Pedro Gutierrez-Valencia;

15 and Gumersindo Perez-Herrera, whose rights to the above-listed property are hereby extinguished. The

16 above-listed property shall be disposed of according to law.

17          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

18 United States of America.

19          3.      The Bureau of Alcohol, Tobacco, Firearms and Explosives shall maintain custody of and

20 control over the subject property until it is disposed of according to law.

21          SO ORDERED this 29th day of December, 2016.

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                                                            ______________________________________
23                                                             UNITED STATES DISTRICT JUDGE
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                                                           2
                                                                                                Final Order of Forfeiture
